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04
                                UNITED STATES DISTRICT COURT
05                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
06
     UNITED STATES OF AMERICA,            )
07                                        )
                 Plaintiff,               )
08                                        )               Case No. CR06-38-RSM-JPD
           v.                             )
09                                        )
     MATTHEW DEHAGI,                      )               DETENTION ORDER
10                                        )
                 Defendant.               )
11   ____________________________________ )

12 Offense charged:

13           Smuggle and Transport of Illegal Aliens in violation of 8 U.S.C. §§ 1324(a)(1)(A)(l),

14 1324(a)(1)(A)(ii), and 1324(a)(2)(B)(ii).

15 Date of Detention Hearing: February 9, 2006.

16           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21           (1)     A detainer has been placed on defendant by the Bureau of Immigration and

22 Customs Enforcement.

23           (2)     Defendant was born in Tehran, Iran. In 1999, he became a citizen of Canada, but

24 is uncertain if he is still a citizen of Iran, in addition to his citizenship in Canada.

25           (3)     Defendant has four brothers and one sister who still reside in Iran.

26           (4)     The defendant has no ties to this community, or to the Western District of

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01 Washington.

02          (5)    Defendant is a Canadian citizen, but has relatively weak ties to British Columbia,

03 Canada. He has a sister with whom he has daily contact, and a brother with whom he has

04 monthly contact. He has been self-employed buying and selling cars and also employed

05 delivering pizzas. There is little keeping him in British Columbia.

06          (6)    Defendant is facing a mandatory minimum sentence if convicted of the instant

07 offense.

08          (7)    Defendant is considered a risk of flight based on the above findings.

09          IT IS THEREFORE ORDERED:

10          (1)    Defendant shall be detained pending trial and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16          (3)    On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which defendant

18                 is confined shall deliver the defendant to a United States Marshal for the purpose

19                 of an appearance in connection with a court proceeding; and

20          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

21                 counsel for the defendant, to the United States Marshal, and to the United States

22                 Pretrial Services Officer.



                                                         A
23                 DATED this 10th day of February, 2006.

24
                                                         JAMES P. DONOHUE
25                                                       United States Magistrate Judge
26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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